    Case 19-10020         Doc 65-1 Filed 03/10/25 Entered 03/10/25 14:38:56                           Desc
                                Signature Pages Page 1 of 1
01/2012



                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF ILLINOIS
IN RE:                                                    )
              Shonaree L. Jones                           )      Case No. 19-10020
                                                          )      Chapter 13
                                                          )
              Debtor(s)                                   )

                    DECLARATION REGARDING ELECTRONIC FILING
                       FOR DOCUMENTS FILED AFTER PETITION

Re:           Amended Schedules A/B, C, Form 107 Statement of Financial Affairs
          (Specify Document)
I (We), Shonaree L. Jones and , the undersigned individual(s), hereby declare under penalty of perjury
that I have reviewed the Amended Schedule A/B, C and Form 107 Statement of Financial Affairs
being filed simultaneously with this Declaration and that the information therein is true and correct.

Shonaree L. Jones
Printed or Typed Name of Debtor or Other Person               Printed or Typed Name of Joint Debtor


Signature of Debtor or Other Person                           Signature of Joint Debtor

March 5, 2025
Date                                                          Date
